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      In The United States Court of Federal Claims
                                              No. 09-242L

                                     (Filed: October 29, 2010)
                                            __________

 LOIS A. BURGESS, MARY VAN ELLEN and
 ADELINE M. JOHNSON, for themselves and
 as representatives of a class of similarly
 situated persons,

                                Plaintiffs,

                         v.

 THE UNITED STATES,

                                Defendant.

                                               _________

                                                ORDER
                                               _________

        On October 26, 2010, the parties filed a joint status report requesting the court to stay
further liability briefing pending settlement negotiations. After reviewing the joint status report,
the court orders the following:

       1.       Briefing on plaintiff’s motion for partial summary judgment is
                hereby STAYED;

       2.       On or before December 22, 2010, and every 61 days thereafter, the
                parties shall file a joint status report regarding the progress of
                settlement negotiations; the parties shall notify the court
                immediately if settlement discussions breakdown; and

       3.       If these reports fail to show progress toward settlement, the court
                will restore this case to the active docket.

       IT IS SO ORDERED.



                                                              s/Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
